      Case 2:15-cr-00190-KJM Document 412 Filed 07/20/18 Page 1 of 4


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     JOHN MICHAEL DICHIARA
 5
 6
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                  )         Case №: 2:15-cr-190 GEB
11                                              )
                     Plaintiff,                 )
12                                              )
             vs.                                )      STIPULATION AND PROPOSED
13                                              )      ORDER TO CONTINUE THE STATUS
          .                                     )      CONFERENCE FROM JULY 20, 2018 TO
14   JOHN MICHAEL DICHIARA                      )      AUGUST 24, 2018 AND EXCLUDE TIME
                                                )
15                   Defendant.                 )
16
17
18
                                                    STIPULATION
19
            IT IS HEREBY STIPULATED AND AGREED between the parties and their attorneys,
20
     Audrey Hemesath, Assistant United States Attorney, and Robert M. Wilson, attorney for John
21
22   DiChiara, that the status conference date of Friday, July 20, 2018, should be continued to Friday,

23   August 24, 2018, and time should be excluded under the Speedy Trial Act. The parties further
24   stipulate as follows:
25
            1. On September 11, 2017, defendant John DiChiara filed a Notice of Hospitalization and
26
     Request to Continue the Trial in this matter. (ECF 250, 253). Thereafter, this Court continued
27
     the trial set for September 12, 2017, to November 28, 2017, and found excludable time pursuant
28
                                                      1
           STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERECE
      Case 2:15-cr-00190-KJM Document 412 Filed 07/20/18 Page 2 of 4


 1   to Local Code N from September 12, 2017, to November 28, 2017. (ECF 265) Unfortunately,
 2
     Mr. DiChiara’s medical condition did not improve, and a further Status Conference was held on
 3
     October 27, 2017, wherein this Court determined Mr. DiChiara would not be available for the
 4
     November 28, 2017, trial due to his medical condition, and granted the government’s request to
 5
     sever Mr. DiChiara from his co-defendant and set a further status conference for February 23,
 6
 7   2018 ( ECF 277).

 8          2. Prior medical records have been provided to the government, and the government has
 9   previously spoken with Mr. DiChiara’s cardiologist and confirmed that Mr. DiChiara has
10
     multiple medical co-morbidities which have made him severely deconditioned and would
11
     preclude him from participating in a trial for at least the next six months. Specifically, Mr.
12
     DiChiara’s co-morbidities are a recent triple cardiac bypass, heart failure, deconditioning, falls
13
14   and history of strokes. His current diagnosis is coronary artery disease, heart failure, and strokes

15   followed by a triple bypass. Additionally, Mr. DiChiara suffers from kidney disease and is being
16   followed by a nephrologist. A letter provided to the government from the nephrologist indicates
17
     that Mr. DiChiara suffers from chronic kidney disease and his comorbidities preclude him from
18
     participating in any trial work for at least six months. Based on the above information the parties
19
     stipulated to continue the matter until July 20, 2018.
20
21          3. Additional updated medical records have been sought, but have not yet been provided.

22   Counsel for Mr. DiChiara has spoken with Mr. Dichiara and has been advised that Mr. DiChiara

23   remains in frail health and has been referred to a hemotologist for evaluation of blood disorder.
24
     Attempts to contact Mr. DiChiara’s doctor for a written or verbal update has taken longer than
25
     expected due to recent medical complication and the referral of Mr. DiChiara to a hematologist
26
     specialist. Additional time is required to obtain updated medical records and to give counsel
27
28   time to speak with Mr. DiChiara’s treating physcians so that an accurate assessment of Mr.
                                                       2
           STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERECE
      Case 2:15-cr-00190-KJM Document 412 Filed 07/20/18 Page 3 of 4


 1   DiChiara’s medical condition can be provided to the government and court for review and
 2
     consideration.
 3
             In light of the additional time required to obtain medical information necessary to assess
 4
     Mr. DiChiara’s health condition and his ability for Mr. DiChiara to assist counsel in preparation
 5
     for trial, the parties wish to continue the current status conference set for July 20 to August 24,
 6
 7   2018.

 8           4. The defendant, John DiChiara, is currently out of custody.
 9           5. The parties stipulate that such continuance on the basis of that the ends of justice
10
     served by taking such action outweigh the best interest of the public and the defendant in a
11
     speedy trial. The parties further stipulate the continuance is necessary, as Mr. DiChiara is
12
     currently physically incapable of attending and participating in trial, such that time exclusion is
13
14   again appropriate under Local Code N, 18 U.S.C. 3161(h)(4). Furthermore, defense counsel is

15   still reviewing discovery, trial transcripts, meeting with his client, and investigating information
16   as well as conducting additional research and as such time exclusion is appropriate under Local
17
     Code T-4.
18
             7. Nothing in this stipulation and order shall preclude a finding that other provisions of
19
     the Speedy Trial Act dictate that additional time periods be excludable from the period within
20
21   which a trial must commence.

22
             IT IS SO STIPULATED that the time between July 20, 2018 and August 24, 2018 should
23
     be excluded from the Speedy Trial calculation pursuant to 18 U.S.C.§§ 3161(h)(7)(A), B(iv)
24
     [Local Code T4] and 3161(h)(4) [Local Code N] for defense preparation and due to Mr.
25
     DiChiara’s comorbidities and inability to assist counsel with the preparation for trial or
26
     participation in trial and his necessity to participate in medical rehabilitation. The parties
27
     stipulate that the ends of justice served by granting this continuance outweigh the best interests
28
                                                        3
             STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERECE
      Case 2:15-cr-00190-KJM Document 412 Filed 07/20/18 Page 4 of 4


 1
     of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
 2
 3   IT IS SO STIPULATED.
 4
 5   Dated: July 19, 2018                                    /s/ Robert M. Wilson
                                                            ROBERT WILSON
 6                                                          Counsel for Defendant
                                                            JOHN DICHIARA
 7
 8
 9   Dated: July 19, 2018                                   MCGREGOR SCOTT
                                                            United States Attorney
10
11                                                          /s/ Audrey Hemersath
                                                            AUDREY HEMESATH
12                                                          Assistant United States Attorney

13
                                                IT IS SO ORDERED.
14
15
             The status conference presently set for July 20, 2018 at 9:00 A.M., is hereby
16
     continued to August 24, 2018 at 9:00 A.M., and time under the Speedy Trial Act will be excluded
17
     from July 20, 2018 through August 24, 2018 pursuant to 18 U.S.C.§§ 3161(h)(7)(A), B(iv)
18
19   [Local Code T4] and 3161(h)(4) [Local Code N] due to the unavailability of the defendant and

20   further representations of the parties in their stipulation. The Court finds that the ends of justice
21   served by granting this continuance outweigh the best interests of the public and the defendant in
22
     a speedy trial.
23
             Dated: July 19, 2018
24
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27
28
                                                        4
            STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERECE
